                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                No.5:07-CR-176-4D


UNITED STATES OF AMERICA,                    )
                                             )
                              Plaintiff,     )
                                             )
                 v.                          )                       ORDER
                                             )
ROLAND WARE,                                 )
                                             )
                              Defendant.     )


       On April 29, 2010, Roland Ware ("Ware" or "defendant") filed a petition of replevin for

return ofpersonal property [D.E.141]. On May 19,2010, the United States responded in opposition

[D.E. 144]. As explained below, the petition is denied.

       On November 19, 2007, Ware pleaded guilty to bank fraud and aiding and abetting in

violation of 18 U.S.C. §§ 1344 and 2 [D.E. 64]. Ware participated in a complex scheme to defraud

along with his codefendants, Eric Davome Baerga, Ivan Malik Baerga, and Steven Daniels. On June

10, 2008, the court entered judgment against Ware and ordered him (and his codefendants jointly

and severally) to pay restitution in the amount of $437,903.47 [D.E. 101].

       Ware and his codefendants have yet to pay the $437,903.47 in restitution. In order to recover

some ofthe restitution, the United States obtained a writ ofexecution [D.E. 126] concerning certain

property, and Ware was sent a copy on April 1, 2010 [D.E. 134]. The United States is executing on

certain property seized during the course of the criminal investigation, including property in the

possession of Ware and his codefendants. The property includes jewelry and cars.

       Ware objects to the execution on several grounds.        First, Ware wants a copy of an

unidentified affidavit associated with the writ of execution. Ware, however, was served with the




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following documents associated with the execution: the application, the writ, and the designation

of exemptions. Ware is not entitled to anything else. Thus, the objection is overruled.

       Second, Ware objects to the execution and requests the return of all property seized from

him. Ware provides no argument, legal or factual, as to why the United States may not execute on

these items. Notably, the items were seized during the course of the investigation, and the

investigating agency is in lawful possession ofthe property. Moreover, Ware's request conflicts with

his plea agreement [D.E. 64, ~ 2]. Thus, the objection is overruled.

       Third, Ware requests a list ofthe property. The United States provided him with a list ofthe

seized property [D.E. 144-1]. Thus, the objection is overruled.

       Accordingly, Ware's petition [D.E. 141] is DENIED.

       SO ORDERED. This 1          day of September 2010.




                                                         J
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                                                               SC.DEVERill
                                                         United States District Judge




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